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                                                                     FILED: April 1, 2019

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                      ___________________

                                           No. 18-4331
                                      (1:16-cr-00001-JMC-1)
                                      ___________________

        UNITED STATES OF AMERICA

                     Plaintiff - Appellee

        v.

        MACKIE JAMES WALKER, JR., a/k/a Mackie J. Walker, Jr.

                     Defendant - Appellant

                                      ___________________

                                           ORDER
                                      ___________________

              The court grants counsel's motion to withdraw from further representation.

              Entered at the direction of the panel: Judge Keenan, Judge King, and Judge

        Harris.

                                              For the Court

                                              /s/ Patricia S. Connor, Clerk
